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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

                                               )
UNITED STATES OF AMERICA,                      )
                                               )
                                               )
              v.                               ) Criminal Action No. 23-mj-00274-MN
                                               ) Criminal Action No. 23-cr-00061-MN
ROBERT HUNTER BIDEN,                           )
                                               )
                      Defendant.               )
                                               )
                                               )


                DEFENDANT’S RESPONSE TO THE UNITED STATES’
               MOTION TO VACATE THE COURT’S BRIEFING ORDER

       Defendant Robert Hunter Biden, by and through undersigned counsel, respectfully submits

this response to the United States’ Motion to Vacate the Court’s Briefing Order. (D.I. 30 in No.

23-mj-00274-MN); (D.I. 25 in No. 23-cr-00061-MN).

       While counsel for the Defendant are still prepared to respond to the questions Your Honor

posed at the July 26 hearing, in light of the United States’ decision on Friday to renege on the

previously agreed-upon Plea Agreement, we agree that those issues are moot at this point.

Nevertheless, we wish to inform the Court of the following:

       First, in May 2023, the Defendant, through counsel, accepted the prosecutors’ invitation

to engage in settlement discussions that the Defendant and counsel understood would fully resolve

the Government’s sprawling five-year investigation.

       Second, as is customary in negotiated resolutions, prosecutors (and not the Defendant or

his counsel) proposed and largely dictated the form and content of the Plea and Diversion

Agreements. This is true with respect to the form in which the documents were presented to the

Court (i.e., as two separate and independent agreements), as well as the express language of
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paragraph 15 of the Diversion Agreement (the so-called immunity provision). Throughout the

settlement process the Defendant and his counsel negotiated fairly and in good faith with the prosecutors.

        Third, consistent with their terms, the Defendant signed both agreements, was willing to

waive certain rights, and to accept responsibility for his past mistakes. As was required as part of

the Plea Agreement, he was prepared to plead guilty to the two misdemeanor tax charges in open

court and he truthfully answered Your Honor’s questions, including those regarding his

understanding of the promises that had been made to him by the prosecutors in exchange for a

guilty plea. The Defendant’s understanding of the scope of immunity agreed to by the United

States was and is based on the express written terms of the Diversion Agreement.                      His

understanding of the scope of immunity agreed to by the United States is also corroborated by

prosecutors’ contemporaneous written and oral communications during the plea negotiations.

        Fourth, the Defendant intends to abide by the terms of the Diversion Agreement that was

executed at the July 26 hearing by the Defendant, his counsel, and the United States, and concurs

with the statements the Government made during the July 26 hearing,1 and which the Government

then acknowledged in its filings agreeing to the public disclosure of the Plea and Diversion

Agreements2—that the parties have a valid and binding bilateral Diversion Agreement.


1
        The Government stated in open court that the Diversion Agreement was a “bilateral
agreement between the parties” that “stand[s] alone” from the Plea Agreement, and that it was “in
effect” and “binding.” (Hr’g Tr. 46:9–14) (Government: “Your Honor, I believe that this is a
bilateral agreement between the parties that the parties view in their best interest.”); id. at 91:6–8
(Government: “Your Honor, the Diversion Agreement is a contract between the parties so it’s in
effect until it’s either breached or a determination [sic], period.”); id. at 41:12–15 (“Your Honor,
the United States[’] position is that the agreements stand alone by their own terms … ”); id. at
89:12–14 (Government: “[T]he statement by counsel is obviously as Your Honor acknowledged a
modification of this provision, and that we believe is binding.”).
2
       (D.I. 24 in No. 23-mj-00274-MN); (D.I. 20 in No. 23-cr-00061-MN) (stating that the
Diversion Agreement was a “contract[] between the Government and a defendant” and that
Government assented to public filing because “the Government and the Defendant expressly
agreed that this diversion agreement would be public”).


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    The Defendant and his counsel wish to thank the Court for its attention to this case.

    Dated: August 13, 2023              Respectfully submitted,


                                        _/s/ Christopher J. Clark ________________

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